 Case 2:16-cv-00602-JRG Document 13 Filed 01/20/17 Page 1 of 2 PageID #: 103




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC         §
                                   §
      Plaintiff,                   §                Case No: 2:16-cv-602-JRG-RSP
                                   §
      vs.                          §
                                   §
WATER PIK, INC.                    §
                                   §
      Defendant.                   §
__________________________________ §

    JOINT MOTION TO DISMISS. WITHOUT PREJUDICE PURSUANT TO RULE
                                41(a)(2)

       Plaintiff Symbology Innovations, LLC and Defendant Water Pik, Inc. hereby jointly

move to dismiss their respective claims and counterclaims in this civil action without prejudice

pursuant to Fed. R. Civ. P. 41 (a)(2).

       Wherefore, Plaintiff and Defendant request that the Court dismiss Plaintiff’s claims

against Defendant Water Pik, Inc., and Defendant’s counterclaims against Plaintiff Symbology

Innovations, LLC, without prejudice, with each party to bear its own fees and costs.
 Case 2:16-cv-00602-JRG Document 13 Filed 01/20/17 Page 2 of 2 PageID #: 104




Dated: January 20, 2017                      Respectfully submitted,



/s/ Jay Johnson                                   /s/ Lee F. Johnston
JAY JOHNSON                                       LEE F. JOHNSTON
State Bar No. 24097322                            State Bar No. 10839600
BRAD KIZZIA                                       DORSEY & WHITNEY LLP
State Bar No. 11547550                            1400 Wewatta St., Suite 400
KIZZIA JOHNSON PLLC                               Denver, CO 80202
1910 Pacific Ave., Suite 13000                    Tel. (303) 629-3400
Dallas, TX 75201                                  Fax (303) 629-3450
Tel. (214) 451-0164                               johnston.lee@dorsey.com
Fax (214) 451-0165
jay@kjpllc.com
bkizzia@kjpllc.com

ATTORNEYS FOR PLAINTIFF                           ATTORNEYS FOR DEFENDANT




                                 CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of this document has been served on all counsel of
record via electronic mail through Local Rule CV-5(a) on January 20, 2017.

                                             /s/ Jay Johnson
                                             Jay Johnson
